868 F.2d 1201
    UNITED STATES of America, Plaintiff-Appellant,v.John Timothy SINGER, Jonathan Swapp, Addam W. Swapp, andVickie L. Singer, Defendants-Appellees.
    Nos. 88-2619, 88-2624, 88-2625 and 88-2626.
    United States Court of Appeals,Tenth Circuit.
    March 6, 1989.
    
      Before MOORE, BALDOCK and EBEL, Circuit Judges.
    
    ORDER
    
      1
      On consideration of the motion and responses of the parties, the en banc opinion of the district court is reversed [695 F.Supp. 1140] and these appeals are remanded for resentencing under the Guidelines.  Mistretta v. United States, --- U.S. ----, 109 S.Ct. 647, 102 L.Ed.2d 714 (1989).
    
    
      2
      Numbers 88-2516, 88-2433, 88-2435 and 88-2437 are partially remanded for resentencing.  Briefing on the merits of the appeals from the judgments of conviction will continue.  If defendants are dissatisfied with the sentences under the Guidelines, new notices of appeal will be required.  The sentence appeals, if any, will be consolidated with the appeals of the judgments and short supplemental briefs will be allowed.
    
    
      3
      Certified copies of this order shall stand as and for the mandates of the court.
    
    